Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 1 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 2 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 3 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 4 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 5 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 6 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 7 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 8 of 9
Case 2:22-cv-01910-JZB Document 1 Filed 11/08/22 Page 9 of 9
